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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

  UNITED STATES OF AMERICA                      )
                                                )
                 Plaintiff,                     )
                                                )
  vs.                                           )       No.: 4:18CR00975 ERW
                                                )
  DUSTIN BOONE                                  )
                                                )
                 Defendant.                     )

                         REQUEST FOR PERMISSION TO TRAVEL

         COMES NOW, Patrick S. Kilgore, attorney for Defendant DUSTIN BOONE,

  and respectfully requests permission to travel while on pretrial release in the above

  entitled Cause. Defendant wishes to travel to Arizona to visit his parents who reside at

  15628 N. 168th Lane, Surprise, AZ 85388. Defendant will depart on Saturday June 26,

  2021 and return to St. Louis on July 12, 2021.

         Counsel has contacted First Assistant United States Attorney Carrie Costantin

  regarding this request; Ms. Costantin has no objection to this request. Defendant has

  provided his complete travel itinerary to his Pretrial Services Officer Jameka Taylor; Ms.

  Taylor has no objection to this request. Defendant has been on bond since this case

  began and has incurred no violations.



                                                Respectfully Submitted,



                                                s/ Patrick S. Kilgore___________
                                                By: Patrick S. Kilgore, #44150MO
                                                1015 Locust, Suite 1000
                                                St. Louis, Missouri 63101
                                                (314) 753-0096
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                                                ATTORNEY FOR DEFENDANT
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 24, 2021, the foregoing was electronically filed with the
  Clerk of the Court to be served by operation of the Court’s electronic filing system upon Ms.
  Carrie Costantin, First Assistant United States Attorney.

                                                    s/ Patrick S. Kilgore
                                                    Patrick S. Kilgore, #44150MO
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                                                    St. Louis, Missouri 63101
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                                                    patrick@patrickkilgorelaw.com
                                                    ATTORNEY FOR DEFENDANT
